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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                  8:06CR411
                                              )
       vs.                                    )            AMENDED ORDER
                                              )
MARK ANTHONY HUDSON,                          )
                                              )
                     Defendant.               )


       The defendant, Mark Anthony Hudson (Hudson) has been accepted for placement
at the Residential Re-entry Center in Council Bluffs, Iowa, as of April 11, 2013. Accordingly,
the U.S. Marshal shall release Hudson from detention and have him available for transport
at the U.S. Marshal’s holding cell by 8:00 a.m. on Thursday, April 11, 2013.


       IT IS SO ORDERED.


       DATED this 10th day of April, 2013.


                                                  BY THE COURT:
                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
